Case 2:04-cv-02991-.]DB-dkv Document 4 Filed 07/13/05 Page 1 of 2 Page|D 10

 

UNITED STA TES DISTRICT COURT FILED B'Y; _______D.C.
WESTERN DISTRICT OF TENNESSJ§ L |3 PH 3 l
WESTERN DIVISI()N 9
h T_HQ?\€ASM M._GQULD
bL'EF§'~L i;5 inn ,1 wqu
DAVID FERGUSON, JUDGMENT IN APJIV!L 415 §§
Plaintiff,
V.
N. OBI, et al., CASE NO: 2:04-2991-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ()RDERED AND ADJUDGED that in accordance With the Order Of Dismissal
entered on .Iuly 12, 2005, this cause is hereby dismissed without prejudice.

 

 

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J. D NIEL BREEN
ED STATES DISTRICT COURT

;£:' l'.\,w.>§ THOMAS M.GOULD
at Clerk of Court
(By) Deputy Clerg

 

merit entered on the docket sheet in compilance

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With Rule 55 end/or 79(5) FHCP on

 

UNITED`TATES DISTRCIT COURT - WESERNDISTCRIT oFTi\INEESSEE

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This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02991 Was distributed by faX, mail, or direct printing on
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David Ferguson

SHELBY COUNTY CORRECTIONAL COl\/[PLEX
12554

1045 Mullins Station Rd.

Memphis7 TN 38134

Honorable J. Breen
US DISTRICT COURT

